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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA


JEFFERSON PARISH                                    CIVIL ACTION

VERSUS                                              NO. 18-5206

DESTIN OPERATING CO., INC., ET AL.                  SECTION “L” (2)

PLAQUEMINES PARISH                                  CIVIL ACTION

VERSUS                                              NO. 18-5215

EXXON OIL & GAS CORP., ET AL.                       SECTION “L” (1)

JEFFERSON PARISH                                    CIVIL ACTION

VERSUS                                              NO. 18-5242

EQUITABLE PETROLEUM, ET AL.                         SECTION “L” (2)

PLAQUEMINES PARISH                                  CIVIL ACTION

VERSUS                                              NO. 18-5227

GREAT SOUTHERN OIL & GAS CO., INC., ET AL.          SECTION “L” (5)

PLAQUEMINES PARISH                                  CIVIL ACTION

VERSUS                                              NO. 18-5259

PALM ENERGY OFFSHORE, L.L.C., ET AL.                SECTION "L" (2)
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                                              ORDER

       The cases before the Court are five of several seeking to determine the oil and gas

industry’s responsibility—and consequently, their restoration obligations, if any—for the rapid

loss and deterioration of Louisiana’s coastal wetlands. All five cases have motions to remand

pending. On May 28, 2019, the Honorable Martin L. C. Feldman granted a motion to remand filed

in a related case, Plaquemines Parish v. Riverwood Production Co., No. 18-5217, R. Doc. 79 (E.D.

La.). Having granted Plaintiff’s motion to remand, Judge Feldman granted Defendants’ request to

certify the issue for interlocutory appeal pursuant to 28 U.S.C. § 1292(b). No. 18-5217, R. Doc.

79 at 63–64. Thus, the issue is now before the Fifth Circuit. Accordingly;

       IT    IS   ORDERED        that   the   above   captioned   cases      be   and   hereby   are

ADMINISTRATIVELY CLOSED pending the appeal of Plaquemines Parish v. Riverwood

Production Co., No. 18-5217 (E.D. La.). Following appeal, the Court shall reopen the cases on the

motion of either party.



       New Orleans, Louisiana on this 11th day of June, 2019.


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                                                               Eldon E. Fallon
                                                          U.S. District Court Judge
